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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                       22-cv-81294=AMC
                               Case No._______________________


                            CLERK’S NOTICE OF FILING DEFICIENCY


The Clerk’s Office has received the document(s) submitted in the above referenced case. The
document(s) do not comply with the requirements of the Local Rules, CM/ECF Administrative
Procedures, or the Federal Rules. The documents have been accepted for filing; however, please
note the deficiencies noted below.



         ☐ Document(s) were filed conventionally that should have been filed electronically (see
           CM/ECF Administrative Procedures).
         ✔ Document(s) missing required signature(s) (Fed.R.Civ.P. 11(a); Fed.R.Cr.P 49(d)).
         ☐

         ☐ Translation not provided for documents written in foreign language (See CM/ECF
           Administrative Procedures).

         ☐ Civil Cover Sheet not filed pursuant to Local Rule 3.3.

         ☐ Motion for Appearance Pro Hac Vice was not filed with the required fee of $_______
           ($75.00 per attorney per case), pursuant to Special Rules Governing the Admission
           and Practice of Attorneys, Local Rule 4(b). Please submit the required fee.

         ☐ Case was not filed with required filing fee of $__________
                                                           5.00       (civil cases:$400.00; memo
           cases: $46.00; habeas cases: $5.00) pursuant to 28 U.S.C. § 1914 (a), and the CM/ECF
           Administrative Procedures. Summons(es) will not be issued until the filing fee is paid or
           an order granting the Application to Proceed In Forma Pauperis is entered.

         ☐ Pursuant to Administrative Order 2014-86, parties applying for a writ of garnishment
           should no longer pay $100 into the Court registry and instead make that payment to the
           garnishee upon demand under amended section 77.28, Florida Statutes. The $100
           payment is being returned via U.S. Mail.

      8/30/2022
Date: ___________________
                                          ANGELA E. NOBLE
                                          Court Administrator • Clerk of Court

                                              /s/ J. Adams
                                          By: ___________________________
                                                        Deputy Clerk




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